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  9
       Attorneys for the State of Arizona
        ex rel. Arizona Department of Revenue
  10
                             IN THE UNITED STATES BANKRUPTCY COURT
  11
                                IN AND FOR THE DISTRICT OF ARIZONA
  12

  13   In re:                                            Chapter 13

  14
       KUSHUNE DENISE ALLEN,                             Case No. 2:20-bk-01580-EPB
  15   SSN: XXX-XX-8761
                                                         OBJECTION TO CONFIRMATION OF
  16                                     Debtor.         ORIGINAL CHAPTER 13 PLAN

  17                                                     Docket No. 21
  18

  19            The State of Arizona ex rel. Arizona Department of Revenue (“Department”) objects to

  20   the Original Chapter 13 Plan (“Plan”) filed by Kushune Denise Allen (“Debtor”) on March 3,
  21
       2020 as follows:
  22
           1. The Department is the agency empowered and entitled to enforce Arizona tax laws and
  23
       regulations, including but not limited to individual income taxes, transaction privilege taxes
  24

  25   (“TPT”) and withholding taxes (“WTH”). A.R.S. §§ 43-208; 42-1004 et seq.; 43-101 et seq.

  26       2. The Debtor is an individual residing in the State of Arizona and upon information and



       BCE19-02653

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  1    belief is required to file and pay certain tax liabilities to the Department, including individual
  2
       income taxes. See A.R.S. §§ 43-301, 43-501.
  3
          3. The Department filed a proof of claim establishing a priority claim in the amount of
  4
       $5,208.00. A true and accurate copy of the Department’s Original Proof of Claim (“Claim”)
  5

  6    dated February 18, 2020 is No. 1-1 on the Court’s Claims Register. In addition, the

  7    Department’s Claim indicates that the Debtor has failed to file the tax return indicated below
  8
       (“Outstanding Return”):
  9
         Income         2011
  10

  11     TPT            Not Applicable
  12

  13
         WTH            Not Applicable

  14

  15      4. As indicated in the Department’s Claim, the Debtor has failed to file all tax returns.
  16
       Moreover, the Plan cannot be confirmed until such time that the Debtor files the Outstanding
  17
       Return. Signed, dated, and non-redacted copies of the returns with all federal form W-2s and
  18
       Federal Schedule A, as applicable, may be sent to Richard.Graves@azag.gov, which the
  19

  20   Department will accept as filed on the date that they are received by the Attorney General’s

  21   Office.
  22
          5. The Department’s Claim is entitled to priority treatment pursuant to 11 U.S.C.
  23
       § 507(a)(8)(A). The Plan is required to provide payment in full of all priority claims, unless the
  24
       claimant agrees otherwise. 11 U.S.C. § 1322(a)(2). Here, the Department has not agreed to
  25

  26   different treatment than what Section 1322 requires and the Plan does not provide for the full

       payment of the Department’s priority claim. Therefore, the Plan cannot be confirmed. 11

                                                        2


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  1    U.S.C. § 1325(a)(1).
  2
          6. The Department’s Claim consists of liabilities that were either: (1) filed late and within
  3
       two years of the current bankruptcy; or (2) filed after the commencement of this bankruptcy.
  4
       These obligations are non-dischargeable under the “Two Year Rule” and the Department
  5

  6    requests that language be included within an order of confirmation to clarify as much. 11

  7    U.S.C. §§ 523(a)(1)(B)(ii), 1328(a)(2), In re Savaria, 317 B.R. 395 (B.A.P. 9th Cir. 2004).
  8
       The Department suggests the following:
  9
          To the extent that the Arizona Department of Revenue’s non-dischargeable liabilities
  10      are not paid in full through pro rata distributions under the Debtor's Plan or through
  11      direct payments outside of the plan, the unpaid balance along with postpetition and
          post-confirmation interest shall not be discharged in accordance with 11 U.S.C. §§
  12      523(a)(1)(B)(ii) and 1328(a).
  13
          7. The Department reserves the right to amend, supplement, or withdraw its objection to
  14

  15
       confirmation.

  16                                            Conclusion
  17
                 Any Chapter 13 plan proposed by the Debtor must provide for and eliminate the
  18

  19   objections specified herein in order to be reasonable and to comply with applicable provisions

  20   of 11 U.S.C. § 1325. Since the Plan, as it is currently proposed, does not comply with 11
  21
       U.S.C. § 1325, the Plan cannot be confirmed.
  22

  23             WHEREFORE, the Department prays as follows:

  24
                 1.    That Confirmation of the proposed Chapter 13 Plan be denied, or in the
  25
       alternative, that the Plan be amended or modified to remedy the Department’s objections
  26

       herein;

                                                      3


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  1             2.    That failure of the Debtor to amend or modify the Plan to conform with the
  2
       Bankruptcy Code in a reasonable time, that the Court dismiss or convert this case to a Chapter
  3
       7; and
  4
                3.    For such other and further relief as this Court deems proper.
  5

  6             RESPECTFULLY SUBMITTED this 15th day of April, 2020.

  7
                                                            MARK BRNOVICH
  8                                                         Attorney General
  9                                                                            Christopher J. Dylla
                                                                               2020.04.08
                                                            /s/ CJD No. 027114 11:16:39 -07'00'
  10

  11                                                        Christopher J. Dylla
                                                            Assistant Attorney General
  12
                                                            Attorney for the State of Arizona
  13                                                         ex rel. Arizona Department of Revenue
  14
       ORIGINAL of the foregoing filed electronically this 15th day of April, 2020 with:
  15

  16   United States Bankruptcy Court
       District of Arizona
  17

  18   COPY of the foregoing sent by U.S. Mail or by email* this 15th day of April, 2020 to:

  19   Thomas A. McAvity, Esq.*                             Edward J. Maney*
       Phoenix Fresh Start Bankruptcy Attorneys             101 North First Avenue, Suite 1775
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  21   Phoenix, AZ 85028
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  22   Attorney for Debtor                                  Chapter 13 Trustee

  23                    R. Scott Graves
                        2020.04.15
  24
                        13:43:44
  25                    -07'00'
       /s/ R. Scott Graves
  26
       BCE19-02653


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